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                            IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      GREENVILLE DIVISION
 IN RE:

  CLAUDINE B. GARRETT                                                        12-02190-8-JNC
                                                                               Chapter 13



              RESPONSE TO MOTION TO DETERMINE STATUS AND AMOUNT OF CLAIM


           COMES NOW, HSBC Consumer and Mortgage Lending as servicer for Beneficial Financial I Inc by and
 through undersigned Counsel, and hereby responds to the Trustee’s Motion to Determine Status and Amount of
 Claim. The refund sent to the Trustee was due to the pre-petition arrearage claim being paid in full. HSBC
 Consumer and Mortgage Lending as servicer for Beneficial Financial I Inc, agrees that the pre-petition claim has
 been paid in full, but there are still on-going monthly payments due. HSBC Consumer and Mortgage Lending as
 servicer for Beneficial Financial I Inc requests that this matter be set for hearing.


          This the 25th day of August, 2017.


                                               /s/ William P. Harris
                                               William P. Harris, Attorney for Creditor, Bar # 48633
                                               wharris@logs.com |704-831-2343
                                               Shapiro & Ingle, LLP
                                               10130 Perimeter Pkwy, Suite 400
                                               Charlotte, NC 28216
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                               IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                         GREENVILLE DIVISION
 IN RE:

  CLAUDINE B. GARRETT                                                            12-02190-8-JNC
                                                                                   Chapter 13


                                           CERTIFICATE OF SERVICE

          I hereby certify that I have this day served the foregoing and annexed pleading or paper upon:

                                                (Served via U.S. Mail)
                                                 Claudine B. Garrett
                                                    P. O. Box 862
                                                Sharpsburg, NC 27878

                                       (Served via Electronic Notification Only)
                                                  Claudine B. Garrett
                                                    P. O. Box 862
                                                Sharpsburg, NC 27878


                                  (Served via U.S. Mail and Electronic Notification)
                                               Joseph A. Bledsoe, III
                                                   P.O. Box 1618
                                                New Bern, NC 28563



   by depositing the same in a postpaid wrapper properly addressed to each such party or his attorney of record in a
 post office or other official depository under the exclusive care and custody of the United States Postal Service or by
  electronic mail, if applicable. Any party that can be served by electronic mail will receive no other form of notice.

          August 25, 2017.

                                                 /s/ William P. Harris
                                                 William P. Harris, Attorney for Creditor, Bar # 48633
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